     Case 4:25-cv-01824-JST       Document 47-5           Filed 03/03/25   Page 1 of 14



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12
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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF JOE
                                     Plaintiffs,           HOLLENDONER, CHIEF
18
                                                           EXECUTIVE OFFICER OF THE LOS
19          v.                                             ANGELES LGBT CENTER, OFFICER
                                                           OF THE LGBT COMMUNITY
     DONALD J. TRUMP, in his official capacity as          CENTER, IN SUPPORT OF
20     President of the United States, et al.              PLAINTIFF’S COMPLAINT AND
21                                                         MOTION FOR PRELIMINARY
                                     Defendants.           INJUNCTION
22

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           DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS’ COMPLAINT
                AND MOTION FOR PRELIMINARY INJUNCTION CASE NO. 4:25-cv-1824 JTS
                 Case 4:25-cv-01824-JST         Document 47-5        Filed 03/03/25      Page 2 of 14




                 I, Joe Hollendoner, hereby state as follows:
     1

 2               I. I am the Chief Executive Officer of the Los Angeles LGBT Center ("LA LGBT

 3       Center"), a nonprofit 50l(c)(3) organization based in Los Angeles, California, that provides a

 4       variety of services to members of the lesbian, gay, bisexual, transgender, and queer ("LGBTQ")
 5
         communities. I have served in this capacity since 2022. I joined the staff of the LA LGBT Center
 6
         in 2021.
 7
                 2. I am submitting this Declaration in support of Plaintiffs' Complaint and Motion for
 8
         Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
 9

10       enforcing Executive Order No. 14168 "Defending Women From Gender Ideology Extremism and

11       Restoring Biological Truth to the Federal Government" ("Gender Order"), issued January 20, 2025

12       Executive Order No. 14151 "Ending Radical and Wasteful DEI Programs and Preferencing"
13
         ("DEI-1 Order"), issued January 20, 2025; and Executive Order No. 14173 "Ending Illegal
14
         Discrimination and Restoring Merit-Based Opportunity" ("DEI-2 Order"), issued January 21,
15
         2025 ( collectively, the "Executive Orders"), and related agency directives.
16
                3. The LA LGBT Center was founded in 1969 and offers programs, services, and global
17

18       advocacy that span four broad categories: health, social services and housing, culture and

19       education, and leadership and advocacy. The mission of the LA LGBT Center is to fight bigotry
20       and build a world where LGBT people thrive as healthy, equal, and complete members of society.
21
         Today the LA LGBT Center's more than 800 employees provide services for more LGBTQ people
22
         than any other organization in the world, with more than 500,000 client visits per year.
23
                4. As the largest provider of services to LGBTQ people in the world, many of the LA
24
25       LGBT Center's patients tell us that they come to the LA LGBT Center seeking culturally

26       competent health care due to being denied care or being discriminated against based on their real

27       or perceived sexual orientation, gender identity, transgender status, and HIV status. The LA LGBT
28                                                        1
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                 Case 4:25-cv-01824-JST          Document 47-5        Filed 03/03/25      Page 3 of 14




          Center's client population is disproportionately low-income and experiences high rates of chronic
     I

 2       physical and mental conditions, homelessness, unstable housing, trauma and discrimination, and

 3       stigmatization in health care and social services. Our client population is diverse with respect to

 4       race and class, and more than 55% of our clients self-report that they are non-white or of Latinx
 5
         heritage. Many of our clients come to the LA LGBT Center from different areas of California,
 6
         other states, and even other nations to seek services in a safe and affirming environment.
 7
                  5. Respecting transgender people and advancing their civil rights is central to the LA
 8
         LGBT Center's identity, advocacy, and mission, and a necessary part of every aspect of the
 9

10       services we provide. Indeed, nearly every aspect of the services provided by the LA LGBT Center

11       directly or indirectly impacts the transgender community, and the LA LGBT Center has provided

12       its services to more than 6,000 transgender individuals over the past ten years-the majority of
13
         such services relating to their medical care.
14
                 6. The LA LGBT Center is one of the nation's largest and most experienced providers of
15
         LGBTQ health and mental health care. At the LA LGBT Center, we provide a wide spectrum of
16

17       healthcare services, including, but not limited to, HIV treatment, testing, and prevention care, and

18       mental health care. The LA LGBT Center also has medical providers who specialize in the care of

19       transgender patients and who provide a full range of primary care services in addition to hormone
20       therapy, pre- and post-surgical care, and trans-sensitive pap smears, pelvic exams, and prostate
21
         exams. The LA LGBT Center's broad array of healthcare services are all under one organization,
22
         from counseling and therapy to pharmaceutical and nutrition needs. In many cases, these services
23
         are quite literally lifesaving.
24

25               7. The LA LGBT Center 1s also a federal contractor, subcontractor, grantee, and

26       subgrantee. The federal government is contractually obligated to provide the LA LGBT Center an

27       estimated 22 million dollars of funding for use over multiple years. A significant portion of the
28                                                        2
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INmNCTION, CASE NO. 4:25-cv-1824-JTS
                 Case 4:25-cv-01824-JST          Document 47-5        Filed 03/03/25      Page 4 of 14




         LA LGBT Center's revenue comes from federal programs, including, but not limited to, direct
     I
 2       funding from the Department of Justice (DOJ) Office of Violence Against Women and the

 3       Department of Health & Human Services (HHS) divisions: Centers for Disease Control and

 4       Prevention (CDC); Health Resources and Services Administration (HRSA) Bureau of Primary
 5       Health Care, under which the LA LGBT Center is a Federally Qualified Health Center (FQHC);
 6
         and the Administration for Children Youth & Families.
 7
                 8. As an FQHC, the LA LGBT Center is required to serve anyone on a nondiscriminatory
 8
         basis who walks into its doors. We accept a variety of health insurance plans, including Medi-Cal
 9
10       (California's Medicaid program), Medicare, and most private insurance plans, in addition to

11       providing services to uninsured individuals. We work with these individuals to help them access

12       insurance through Covered California (California's Affordable Care Act "exchange"), and/or
13
         navigate other medical- and drug-assistance programs. Where insurance is not available, our
14
         services are offered on a sliding-scale basis, based on the ability to pay. We pride ourselves on
15
         providing leading-edge health care, regardless of individuals' ability to pay.
16
17              9. In order to help patients navigate healthcare services, program, and insurance, the LA

18       LGBT Center employs "navigators," which is a term for patient-facing staff members who provide

19       assistance and support to patients facing barriers to care. To build trust and understanding,
20       navigators often reflect the identities of those most impacted by health disparities, such as people
21
         of color, LGBTQ people, and people living with HIV. Navigators link patients to various services.
22
         A navigator's job is to reduce and eliminate any barriers that someone may have to accessing
23
         health care. Navi gators complete evidence-based internal and external trainings and are equipped
24

25       with tools to work with clients in priority populations. Navigators engage patients receiving

26       services to ensure ongoing engagement and retention in care, including establishing patient health

27       and wellness goals and working with clients to achieve those goals. They learn how to become a
28                                                        3
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST           Document 47-5        Filed 03/03/25      Page 5 of 14




         trusted source for people who often lack trust in health care providers due to previous experiences.
     I
 2       Through relationship building and rapport building, navigators are successful in connecting

 3       patients to medical providers, mental health services, and other health offerings.

 4               I 0. Some of the LA LGBT Center's navigators work with high-risk populations to help
 5
         them access and remain on Pre-Exposure Prophylaxis (PrEP), a biomedical intervention that
 6
         prevents HIV. Other navigators specialize in housing stabilization, retention in care for People
 7
         Living with HIV (PLWH), substance use recovery, seniors, or young people. For example, Black
 8
         and Latinx gay men experience disproportionate rates of new HIV diagnoses in Los Angeles
 9

10       County. This is due to systemic factors, such as housing insecurity, stigma in healthcare settings,

11       employment discrimination, transportation barriers, and more. Navigators connect individuals to

12       HIV and STI testing and treatment, PrEP and PEP, HIV care, housing resources, healthcare, mental
13
         health services, medication adherence, social supports, and other social services. Navigators thus
14
         serve as critical patient and provider resources to support ongoing and regular engagement in
15
         health care and social services. Navigators work within a larger care team of providers, nurses,
16

17       social workers, and case managers to holistically address current or anticipated barriers to care and

18       ongoing engagement in care. Navigators use an intersectional lens to inform their interventions to

19       meet clients where they are, validate their experiences, and contextualize their experiences within
20       a context of institutional and structural racism, homophobia, transphobia, sexism, and xenophobia.
21
                 11. In addition to client services, like some of the work performed by the LA LGBT
22
         Center's navigators, which is conducted pursuant to a federally funded grant that specifically funds
23
         outreach to gay Black and Latinx men about barriers to care, we also conduct research. The LA
24

25       LGBT Center receives federal funding for research programs and is currently a participant in

26       multiple federally funded studies, including through the NIH and CDC. Many of the LA LGBT

27       Center's federally funded grants require the LA LGBT Center to acknowledge, address, and
28                                                        4
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
             Case 4:25-cv-01824-JST           Document 47-5        Filed 03/03/25       Page 6 of 14




      combat HIV stigma and discrimination. For example, the LA LGBT Center participates in the

 2    MACS/WIHS Combined Cohort Study (MWCCS), the longest-running study of HIV and AIDS

 3   in the United States. Since early in the epidemic, the NIH has supported this study to understand

 4   the impact of HIV on every aspect of health and wellbeing. As people living with HIV can now
 5
     lead long and healthy lives, the focus of the study has shifted to the impact of the disease on aging,
 6
     the long-term impacts of antiretroviral medications, as well as chronic conditions such as
 7
     cardiovascular disease, pulmonary disease, neurologic, and sleep disorders. Another example is
 8
     the mStudy, a longitudinal study seeking to understand how drug use affects the immune system
 9

10   of HIV-positive and HIV-negative men who have sex with men.

11           12. The LA LGBT Center works hard in numerous ways to identify and address disparities

12   in access to health care and patient health inequities based on race, sex, national origin, and
13
     LGBTQ status. In addition to client services and research, the LA LGBT Center provides training
14
     to its own staff. Internal staff training educates the LA LGBT Center's staff on identifying and
15
     acknowledging disparities in underlying health conditions, understanding cultural and historical
16
     barriers to care, and combating implicit bias that could interfere with patient-provider interactions,
17

18   the ability of patients to receive equitable access to care and patient outcomes. We have a Chief

19   Equity Officer whose mission is to create a space where everyone-staff, as well as the community
20   at large-feels safe in their intersectional identities. We have implemented an equity framework
21
     on such issues to train our staff, from the Board to volunteers, which is meant to acknowledge and
22
     address systemic racism and the role of implicit bias in contributing to health disparities, including
23
     anti-LGBTQ bias. Lack of such training would exacerbate health care disparities that LGBTQ
24

25   people, trans people, and people of color face in the broader health care environment-a directly

26   contradictory outcome to the LA LGBT Center's grant mandates and fundamentally at odds with

27   the LA LGBT Center's mission to provide the highest quality care to patients and clients without
28                                                     5
           DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
              AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST           Document 47-5        Filed 03/03/25      Page 7 of 14




          discrimination. Without addressing topics such as implicit bias and grappling with historical
     1

 2       racism and anti-LGBTQ bias in the medical and social sciences fields, the LA LGBT Center cannot

 3       successfully fulfill the obligations of its federal funding. Such training is inherent in the work the

 4       LA LGBT Center has been funded to do.
 5
                 13. In addition to training its own staff on cultural competency, the LA LGBT Center
 6
         performs external trainings for partner organizations, providers, and the public. Our medical
 7
         provider trainings mitigate the risk that providers subject patients to trauma and undermine doctor-
 8
         patient trust, which can result from a provider harboring damaging sex-based stereotypes about
 9

10       LGBTQ people, particularly transgender people, and related bias-whether implicit or explicit. A

11       transgender patient who experiences such discrimination will be far less likely to receive the health
12       care treatment that they need because, after being discriminated against, they are unlikely to seek
13
         other care out of fear of repeated rejections. In tum, this type of delay has obvious and serious
14
         medical ramifications-both for the individuals and for public health at large-which results in
15
         increased costs to the LA LGBT Center and the health care system generally. The LA LGBT
16

17       Center also provides numerous mental health related services, which are particularly important for

18       our many patients who have experienced traumatic discrimination based on sexual orientation,

19       gender identity, transgender status, HIV status, and other factors. The LA LGBT Center has
20       received federal funding to perform trainings for providers at other institutions, this includes
21
         funding from the HHS Family and Youth Services Bureau, which funds the LA LGBT Center's
22
         operation of the National LGBTQ Institute on Intimate Partner Violence, and a grant from the DOJ
23
         Office on Violence Against Women to provide training and technical assistance on serving
24
25       LGBTQ youth survivors of domestic violence, sexual assault, dating violence, stalking, and the

26       overlap with commercial sexual exploitation.

27

28                                                        6
              DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                 AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                 Case 4:25-cv-01824-JST          Document 47-5         Filed 03/03/25       Page 8 of 14




                  14. The LA LGBT Center's Youth Services team also conducts external trainings directed
     1

 2       at cultural competency in working with LGBTQ foster youth and in creating safe and affinning

 3       schools, amongst other topic areas. Many of the recipients of these trainings, including schools

 4       and the California Department of Child and Family Services also receive federal funding. We also
 5
         have staff at our Trans Wellness Center who regularly facilitate cultural competency trainings at
 6
         numerous workplaces, and to other social service providers specific to the experience of
 7
         transgender, gender non-conforming, and intersex communities. Many of these trainings, if not all
 8
         of them, contain an explicit acknowledgment of systemic racism and implicit biases with respect
 9

JO       to race, sex, and LGBTQ status. Additionally, most trainings have a significant focus on the

11       experiences of the trans gender community, including the systemic barriers that the trans gender

12       community faces and the resulting harm caused by these barriers.
13
                 15. The baseless and confusing Executive Orders threaten the work of the LA LGBT
14
         Center. One of the many examples of that threat relates to our National LGBTQ Institute on
15
         Intimate Partner Violence ("the Institute"). This federally funded Institute provides training and
16

17       technical assistance to domestic violence and sexual assault providers across the country to ensure

18       services are inclusive of LGBTQ people. The Institute was initially known as a Capacity Center

19       when work began on it in 2013. Then in 2017, that work evolved into a National Institute as part
20       of the federal Domestic Violence Resource Network, now rebranded as the federal Gender Based
21
         Violence Resource Network. In September 2020, the LA LGBT Center was awarded the federal
22
         contract to operate the Institute, which was formally relaunched a year later. This work is necessary
23
         because queer and transgender people experience disproportionate rates of violence and need care
24

25       that is affirming of their sexual orientation and gender identity or expression.

26               16. While the Center remains resolute in conducting the trainings that we are contractually

27       obligated to provide, we are already seeing the dire consequences of these Executive Orders.
28                                                         7
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST           Document 47-5        Filed 03/03/25      Page 9 of 14




          Domestic violence and sexual assault providers across the country have already begun removing
     1
 2       information about the LGBTQ inclusivity of their programs. These censorship actions are directly

 3       motivated by President Trump and his administration's assertions that their federal funding will

 4       be pulled, and is a prime example of the deliberate lack of clarity baked into these Executive
 5       Orders-an intentional ambiguity designed to confuse, intimidate, and stifle organizations by
 6
         weaponizing undefined terms like "gender ideology" and "DEI preferencing." In addition, our
 7
         Institute staff have heard domestic violence programs announce that they would no longer serve
 8
         transgender survivors or are questioning if their program is still allowed to serve transgender
 9
10       survivors because of the Executive Orders. The actions of our partners leave countless survivors-

11       particularly transgender and nonbinary people-without competent care when they are in crisis.
12               17. The staff at the LA LGBT Center who perform these internal and external trainings are
13
         now concerned that their programming and presentations will be used as a justification for
14
         suspending or terminating the LA LGBT Center's federal funding from grants and contracts. Such
15
         censorship can defeat the purpose of the training and leave the audience without the tools necessary
16
17       to ensure nondiscriminatory services to vulnerable communities. Besides the trainings, the LA

18       LGBT Center staff members are also concerned about how to speak on behalf of the LA LGBT

19       Center or interact in culturally inclusive and affirming ways with our patients and clients.
20       Notwithstanding the practical difficulties of interpreting the Executive Orders, each staff member
21
         must worry about what they are allowed to say about the LA LGBT Center's mission and the
22
         importance of having an affirming and nondiscriminatory environment in which to seek medical
23
         care and other services for LGBTQ people, particularly transgender people, people from
24
25       marginalized communities, and people of color. As a practical matter, it also appears that the

26       Executive Orders restrict the LA LGBT Center's ability to advertise our services, and the

27       Executive Orders restrict other federally funded organizations from partnering with us or
28                                                        8
              DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                 AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST          Document 47-5         Filed 03/03/25      Page 10 of 14




          participating in our trainings, which naturally undermines the LA LGBT Center's ability to meet

     2    its obligations under federal grant funding.

     3           18. And critically, the Gender Executive Order prohibits the promotion of "gender

 4       ideology," seeming to condition federal funding on the denial of the very existence oftransgender
 5       people. It is impossible for the LA LGBT Center to fulfill its mission and provide any of its services
 6
         to trans gender patients and clients without acknowledging and recognizing transgender people for
 7
         who they are. Part of the LA LGBT Center's mission is to "fight against bigotry" and to help "build
 8
         a better world-a world in which LGBTQ people can be healthy, equal, and complete members of
 9

10       society." Accordingly, our values of"courage" and "liberation" require us to "center the members

11       of our community who need our care the most" and "to ensure the safety and freedom of all
12       LGBTQ people." This includes recognizing the existence, identities, and experience of our
13
         transgender and gender diverse community members. Because we must do so in every aspect of
14
         our work, it is impossible for the LA LGBT Center to comply with or accede to the Gender
15
         Executive Order's requirement that we deny the existence of trans gender people. We exist to serve
16

17       all members of the LGBTQ community, and we will not abandon transgenderpeople, a vulnerable

18       segment of our community, as a condition of federal funding that is necessary to provide our wide

19       array of services to thousands of people across the Greater Los Angeles area, and indeed, the world.
20               19. Trainings-whether internal or external--only comprise one part of the comprehensive
21
         services we offer to accomplish our mission, and the Executive Orders call into question whether
22
         other substantive work performed by the LA LGBT Center could be subject to scrutiny. For
23
         example, nowhere do the Executive Orders explain exactly what it means to "promote" so-called
24

25       "gender ideology." Similarly, the Executive Orders do not define the terms "diversity, equity, and

26       inclusion" "DEI " "diversity equity inclusion and accessibility" or "DEJA " The tenn "equity"
                  '     '            '      '         '                '          •
27       when used independently from "diversity, equity, inclusion, and accessibility" is particularly
28                                                        9
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST         Document 47-5        Filed 03/03/25     Page 11 of 14



          vague and ambiguous. One of the Executive Orders says it is terminating "equity-related" grants
     I
 2        and contracts, along with other D EI and DEIA activities. One of the Executive Orders also

 3       mandates 0MB to excise references to DEi and DEJA principles, under whatever name they may

 4       appear from Federal acquisition, contracting, grants, and financial assistance procedures. The LA
 5
         LGBT Center's staff, therefore, cannot be certain what speech or activity might be considered DEi
 6
         or DEJA "principles" even without using the actual terms "DEi" or "DEJA." Beyond the confusing
 7
         undefined terminology, the LA LGBT Center and its partner organizations cannot figure out to
 8
         what extent these Executive Orders seek to censor speech and actions beyond our grant-funded
 9

JO       work. Does it extend to anything and everything our organizations say and do?

11               20. The LA LGBT Center also engages in numerous targeted initiatives that may-or may
12       not-fall within the ambit of the ambiguous language of the Executive Orders. Consider the
13
         following examples. The LA LGBT Center engages in advertising around Pre-Exposure
14
         Prophylaxis ("PrEP") and HIV prevention, particularly targeting young queer men of color, which
15
         is intended to build trust and community around the LA LGBT Center's medical care and
16

17       prevention services. The LA LGBT Center's Trans Wellness Center has a specific focus on care

18       for transgender and non-binary clients. The LA LGBT Center also has programs for monolingual

19       Spanish speakers, programs on violence prevention with an emphasis on transgender women of
20       color, programs providing post-incarceration linkages into services, and provides infonnation to
21
         assist sex workers in negotiating safety. These offerings are fundamental to the LA LGBT Center's
22
         mission, and our staff must be fluent in these and related concepts that may be considered as
23
         "promoting" "gender ideology" or relating to "DEi," "DEJA," or "Equity" as those terms are used
24

25       in the Executive Orders.

26              21. Notwithstanding the Executive Orders, a significant number of LGBTQ patients fear

27       going to a healthcare provider due to negative past experiences directly related to their sexual
28                                                      10
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
                Case 4:25-cv-01824-JST            Document 47-5         Filed 03/03/25   Page 12 of 14




          orientation, gender identity, or transgender status. The LA LGBT Center's providers have
     I

 2       personally observed patients arriving at the LA LGBT Center with acute medical conditions that

 3       could have been avoided but-for the patients' reluctance to seek routine and necessary medical

 4       care for fear of discrimination. Even so, under the Executive Orders, the stories that the LA LGBT
 5
         Center staff are hearing about discrimination in health care have shifted dramatically. The
 6
         Executive Orders have resulted in a marked increase in anxiety, depression, and distress in our
 7
         patients. They express deep concern and sometimes even panic that the Executive Orders will
 8
         prevent them from receiving the life-saving care that they require. We are hearing this from all
 9
10       sectors of the LGBTQ community, including folks living with HIV, those who are undocumented,

II       patients on gender affirming therapy, and individuals needing hormonal contraception for
12       pregnancy prevention and menstrual related concerns. Medical providers are spending a significant
13
         amount of time in clinical encounters discussing these concerns and offering reassurance that we
14
         intend to continue providing care to all of our patients regardless of the external political
15
         environment. However, this does put added stress on our providers and care team, who are
16

17       themselves very concerned about the ways that the Executive Orders will impact them personally

18       and professionally.

19               22. At its core, the LA LGBT Center's mission includes ensuring LGBTQ individuals,
20       particularly transgender people, of all backgrounds can be healthy, equal, and complete members
21
         of society. The Executive Orders make it difficult, if not impossible, for the LA LGBT Center to
22
         continue providing the same level of social, mental, and physical health care and related social
23
         services to its patients, external partners, and the public.
24

25               23. The Executive Orders are part of a calculated assault on trans gender rights, seeking to

26       undermine and even deny the dignity, safety, and existence of our transgender and gender diverse

27       community. While the LA LGBT Center plainly cannot accomplish its mission-and its mandates
28                                                         11
               DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                  AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
               Case 4:25-cv-01824-JST         Document 47-5       Filed 03/03/25      Page 13 of 14




         under existing grants-should the Executive Orders be allowed to stand, we will not allow bigotry,
     1

 2       misinformation, or fearmongering to dictate who gets to access care. The LA LGBT Center is firm

 3       in its commitment that every transgender person deserves to live safely, authentically, and with

 4       dignity.
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              DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                 AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
               Case 4:25-cv-01824-JST         Document 47-5        Filed 03/03/25     Page 14 of 14




                I declare under penalty of perjury under the laws of the United States of America that the
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 2       foregoing is true and correct.

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         Dated: FebruaryZS:-2025
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              DECLARATION OF JOE HOLLENDONER, MSW IN SUPPORT OF PLAINTIFFS' COMPLAINT
                 AND MOTION FOR PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
